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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                               )
DONALD J. TRUMP,                               )
                                               )
                 Plaintiff,                    )
                                               )
       v.                                      )       Civil Action No. 21-cv-2769 (TSC)
                                               )
                                               )
BENNIE G. THOMPSON, in his official            )
capacity as Chairman of the United States      )
House Select Committee to Investigate the      )
January 6th Attack on the United States        )
Capitol, et al.,                               )
                                               )
                 Defendants.                   )
                                               )

                                              ORDER

            For the reasons explained in the accompanying Memorandum Opinion, Plaintiff’s

Motion for a Preliminary Injunction, ECF. No. 5, is DENIED because Plaintiff is unlikely to

succeed on the merits of his claims or suffer irreparable harm, and because a balance of the

equities and public interest bear against granting his requested relief.



Date: November 9, 2021


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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